                                                      U.S. Department of Justice

                                                      United States Attorney
                                                      Southern District of New York
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                                                      January 5, 2022

BY ECF AND EMAIL

The Honorable Jesse M. Furman
United States District Judge
Southern District of New York
40 Foley Square
New York, New York 10007
furman_nysdchambers@nysd.uscourts.gov

       Re:     United States v. Michael Avenatti, 19 Cr. 374 (JMF)

Dear Judge Furman:

        The Government respectfully submits this letter motion pursuant to Rule 15(a)(1) of the
Federal Rules of Criminal Procedure seeking an order authorizing the Government to depose
         (the “Office Assistant”) in advance of the trial presently scheduled for January 24, 2022.
For the reasons explained below, the Government’s request is made in light of exceptional
circumstances, and permitting the Government to depose the Office Assistant is in the interest of
justice. See Fed. R. Crim. P. 15(a)(1). 1

       A. Applicable Law

        Rule 15 of the Federal Rules of Criminal Procedure authorizes any party to “move that a
prospective witness be deposed in order to preserve testimony for trial,” and a “court may grant
the motion because of exceptional circumstances and in the interests of justice.” Fed. R. Crim.
P. 15(a)(1).

       In this Circuit, it is “well-settled” that “the ‘exceptional circumstances’ required to justify
the deposition of a prospective witness are present if that witness’ testimony is material to the case

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        In light of the sensitive nature of certain of the information contained herein, and at the
request of the Office Assistant, the Government has filed a redacted version of the letter motion
on ECF that omits the exhibits and will submit an unredacted version with the exhibits to the Court,
the defendant, and the Office Assistant’s counsel by email, which the Government requests be
filed under seal. See, e.g., United States v. Amodeo, 71 F.3d 1044, 1050 (2d Cir. 1995) (“The
privacy interests of innocent third parties should weigh heavily in a court’s balancing equation.”
(cleaned up)); United States v. Maxwell, No. 20 Cr. 330 (AJN), 2020 WL 7646891, at *1 (S.D.N.Y.
Dec. 23, 2020) (approving proposed redactions to filings based on, “most importantly, [the] third
parties’ personal privacy interests”).
and if the witness is unavailable to appear at trial.” United States v. Johnpoll, 739 F.2d 702, 709
(2d Cir. 1984); see also United States v. Grossman, No. 03 Cr. 1156 (SHS), 2005 WL 486735,
at *2 (S.D.N.Y Mar. 2, 2005) (“To demonstrate that exceptional circumstances exist, the movant
must show that (1) the prospective witness is unavailable for trial, (2) the witness’ testimony is
material, and (3) the testimony is necessary to prevent a failure of justice” (citing United States v.
Cohen, 260 F.2d 68, 72 (2d Cir. 2001)); id. at *3 (“In general, testimony ‘is necessary to prevent
a failure of justice’ when the witness is unavailable, his testimony is material, and there are no
substantial countervailing factors militating against the taking of the deposition.”). The burden of
satisfying this test is on the party seeking a Rule 15 deposition. See United States v. Whiting, 308
F.2d 537, 541 (2d Cir. 1962); see also United States v. Kelley, 36 F.3d 1118, 1124 (D.C. Cir. 1994).

         A witness’s “testimony is material if it is ‘highly relevant to a central issue in the
case . . . .’” Grossman, 2005 WL 486735, at *3 (citing United States v. Drogoul, 1 F.3d 1546, 1556
(11th Cir. 1993)); see, e.g., Drogoul, 1 F.3d at 1553 (in bank fraud trial involving bank employee,
testimony of defendant’s superiors that they had not authorized the allegedly fraudulent transaction
was material because it rebutted an expected defense); Johnpoll, 739 F.2d at 709 (in trial related
to transport of stolen securities, testimony of Swiss witnesses involved in arranging the transport
was material); see also United States v. Cohen, 260 F.3d 68, 78 (2d Cir. 2001) (holding the
proposed testimony not material because it was not relevant to the question of the defendant’s guilt
or innocence).

        A witness’s “[u]navailability is defined by reference to Rule 804(a) of the Federal Rules of
Evidence.” United States v. Gigante, 166 F.3d 75, 81 (2d Cir. 1999); see also United States v.
Ahmed, No. 14 Cr. 277 (DLI), 2016 WL 3653961, at *1-2 (E.D.N.Y. July 1, 2016) (considering
Federal Rule of Evidence 804(a)(4) in determining whether a witness was unavailable for purposes
of Federal Rule of Criminal Procedure 15). Thus, a witness is unavailable for trial if, among other
reasons, he or she “cannot be present or testify at the trial . . . because of . . . a then-existing
infirmity, physical illness, or mental illness.” Fed. R. Evid. 804(a)(4); see United States v. Gigante,
971 F. Supp. 755, 756 (E.D.N.Y. 1997), aff’d on other grounds 166 F.3d 75 (2d Cir. 1999).

        “Movants are not necessarily required to present affidavits from proposed witnesses or
documentation of their prior statements in order to establish their unavailability or the materiality
of their expected testimony.” United States v. Wey, No. 15 Cr. 611 (AJN), 2017 WL 237651,
at *24 (S.D.N.Y. Jan. 18, 2017) (citing United States v. Vilar, 568 F. Supp. 2d 429, 438-440
(S.D.N.Y. 2008) (collecting cases “overwhelmingly” rejecting arguments to the contrary)).
“Rather, a moving party’s representations, if sufficiently specific, may be enough to establish that
both requirements are satisfied.” Id.

       “An order authorizing a deposition to be taken under [Rule 15] does not determine its
admissibility.” Fed. R. Crim. P. 15(f).




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       B. The Office Assistant’s Expected Testimony is Material

       The Government expects that the Office Assistant will provide material, inculpatory
testimony, including with respect to at least the following six topics.

       First, the Office Assistant will provide important testimony relating directly to the
defendant’s guilt, and to his asserted defense that he had a good-faith belief that he was entitled to
the money he took from Victim-1. Specifically, the Government anticipates that the Office
Assistant will testify regarding communications that she had with the defendant regarding the
defendant’s agreement with Victim-1. Among other things, the Office Assistant will describe
conversations in which the defendant characterized his agreement to represent Victim-1, explained
how he intended to monetize his representation of Victim-1, and discussed Victim-1’s book
contract. In particular, the Office Assistant will testify that the defendant never made reference to
expecting any fee from Victim-1’s book contract or any agreement between the defendant and
Victim-1 regarding Victim-1’s book contract, that the defendant only had one retainer agreement
with Victim-1, and that the defendant provided legal services to Victim-1 free of charge. These
communications are material to the defendant’s knowledge and intent, directly responsive to the
defense the defendant has asserted that he will raise at trial, and probative of whether numerous
statements the defendant made to Victim-1, both in writing and orally, were knowingly false.

         Second, the Government anticipates the Office Assistant will testify regarding the
defendant’s retainer agreement with Victim-1, a document which the Government anticipates
offering as evidence at trial. The Office Assistant will describe how the defendant drafted, edited,
and finalized retainer agreements during the relevant time period; authenticate the defendant’s
retainer agreement with Victim-1; verify that the defendant’s signature appears on the retainer
agreement; and explain, as noted above, that, at least to her knowledge, the defendant did not have
a second retainer agreement with Victim-1. The nature, scope, and terms of the defendant’s written
retainer agreement with Victim-1 is an important piece of evidence in this case, as it shows that,
absent a separate agreement, the defendant was not entitled to any portion of Victim-1’s book
contract payments.

        Third, the Government anticipates the Office Assistant will testify about how she opened
and managed certain bank accounts at the defendant’s direction, including the account referred to
in the Indictment as the Avenatti Client Account, to which the defendant fraudulently diverted
Victim-1’s book advance payments. (See Indictment ¶¶ 14-19, 22-24, 28-29.) In addition, the
Office Assistant will testify about how, acting at the defendant’s direction and without knowledge
that Victim-1 had not provided authorization, the Office Assistant created the document referred
to in the Indictment as the False Wire Instructions and provided them to the defendant, who then
used that document to fraudulently induce the diversion of Victim-1’s book advance payments to
the Avenatti Client Account. (See Indictment ¶¶ 15-16, 22, 28-29, 34.) This testimony is material
to demonstrating that the defendant caused the creation of the False Wire Instructions, and to
rebutting an apparent defense that the defendant intends to raise. (See, e.g., Def. Requests to
Charge, Request No. 12 (“If you find that [Victim-1] authorized Michael Avenatti to send a request
to transfer funds to a trust account held for [Victim-1], then the document used for that transfer is
not fraudulent and thus not fraudulent means was used to obtain money, and you must find Michael
Avenatti not guilty.” (Dkt. No. 171).)

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         Fourth, the Government anticipates the Office Assistant will testify that the defendant had
established crowd funding accounts to raise money to cover certain out-of-pocket expenses related
to the defendant’s representation of Victim-1. The Office Assistant will testify that, on certain
occasions when the Office Assistant inquired of the defendant from what account particular law
firm expenses or payroll should be paid, the defendant instructed the Office Assistant to transfer
money from one of the crowd-funded trust accounts for Victim-1 to pay those expenses. In
addition, the Office Assistant will testify about a letter that the defendant sent to Victim-1 in
February 2019, in which he purported to list expenses and costs that were associated with his
representation of Victim-1. The Office Assistant will testify that she prepared an initial draft of
the letter, which included an account of expenses, but that the defendant edited the amounts in the
document and added a section related to attorney’s fees before it was sent to Victim-1. The
Government intends to show, though other evidence adduced at trial, that the contents of this letter
were, at least in part, false, which bears on the defendant’s intent and knowledge.

        Fifth, the Government anticipates the Office Assistant will testify concerning the
defendant’s management of his law firm’s finances and the law firm’s financial condition during
the time period relevant to the charges in this case. The Office Assistant worked for the
defendant’s law firm for approximately 11 years, up until he was arrested on March 25, 2019. The
Office Assistant was both the defendant’s paralegal and office manager. Among other things, the
Office Assistant oversaw the financials of the defendant’s law firm. The Office Assistant is
expected to testify that, during the relevant time period, she updated the defendant on a near-daily
basis about the firm’s finances, that the defendant was a micromanager with respect to the firm’s
financials, that the law firm was having substantial difficulties, and that the defendant forbade her
to speak with anyone else about the law firm’s finances. As explained in the Government’s in
limine briefing (Gov’t Mots. in Limine 7-9 (Dkt. No. 176); Gov’t Reply 3-5 (Dkt. No. 197)), which
is incorporated herein by reference, this testimony, among other evidence, will establish that the
defendant was desperate for money at the particular time of the offense conduct, which is highly
probative of his motive to engage in the charged conduct.

        Sixth, the Government anticipates the Office Assistant will testify concerning the
defendant’s disposition of the crime proceeds. Specifically, the Government expects that the
Office Assistant will testify that the use of the crime proceeds to make payments toward the
defendant’s expenses was generally undertaken by the Office Assistant, acting at the defendant’s
direction. As explained in the Government’s in limine briefing (Gov’t Mots. in Limine 3-7; Gov’t
Reply 1-3), this testimony, among other evidence, will establish that the defendant directed the
spending of the fraud proceeds and the nature of that spending, which is probative of the existence
of the defendant’s scheme, his intent to defraud, and his knowledge.

        Each of the foregoing categories of anticipates testimony is “highly relevant to a central
issue in the case,” and therefore is “material” for the purposes of authorizing a Rule 15 deposition.
See, e.g., Grossman, 2005 WL 486735, at *3. 2


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       The Office Assistant also testified at the trial in United States v. Avenatti,
No. S1 19 Cr. 373 (PGG) (S.D.N.Y. Feb. 6, 2020) (Trial Tr. 1398-1408), prior to
         and the beginning of the COVID-19 pandemic, and at the trial in the separate prosecution
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deposition; and (2) the costs of the deposition transcript.” In addition, pursuant to Rule 15(e)(3),
the Government will produce to the defendant any material subject to production under 18 U.S.C.
§ 3500(b) or Giglio v. United States, 405 U.S. 150 (1972), with respect to the Office Assistant, to
the extent it has not already been produced, on or before January 12, 2022. (See Amended
Scheduling Order at 3 (Dkt. No. 160).)

       E. The Defendant’s Position

        After conferring with the defendant, he asked that the Government include the following:
“The defense objects to the Government’s application and requests leave to file a response by
Friday, January 7, 2022.”

       F. Conclusion

        Based on the foregoing, the Government respectfully requests that the Court authorize the
deposition of the Office Assistant on January 16, 2022, or an alternate date to be agreed upon by
the parties, at a location in the vicinity of the Office Assistant’s place of residence to be arranged
by the Government. 4

                                                       Respectfully submitted,

                                                       DAMIAN WILLIAMS
                                                       United States Attorney

                                                   By: _/s/_________________________
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         In the alternative, the Government requests that the Office Assistant be permitted to testify
at trial by live, two-way video. See, e.g., United States v. Griffin, No. 11 Cr. 936 (RJS), 2021 WL
3188264, at *2 (S.D.N.Y. July 28, 2021) (granting government’s motion for witness to testify at
hearing by two-way video where witness’s “doctor has advised her not to travel in light of the fact
that she gave birth approximately two weeks ago and is not vaccinated against COVID-19”);
United States v. Akhavan, 523 F. Supp. 3d 443, 451-46 (S.D.N.Y. 2021) (granting witness’s motion
to testify at trial by two-way video where 57-year-old witness’s “hypertension and atrial fibrillation
(a heart condition)” “place[d] him at increased risk of serious illness or death if he were to contract
COVID-19,” and he would have “need[d] to travel by commercial flight [from California] to
testify” in person); United States v. Donziger, No. 19 Cr. 561 (LAP), 2020 WL 5152162, at *2-4
(S.D.N.Y. Aug. 31, 2020) (granting special prosecutor’s motion for witness to testify at trial by
two-way video where 72-year-old witness’s age and other health conditions “place[d] him at
heightened risk of dangerous complications should he contract COVID-19,” and he would have
needed to travel by commercial flight from Texas to testify in person).
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Cc: Robert M. Baum, Esq. (by ECF and email)
    Andrew J. Dalack, Esq. (by ECF and email)
    Tamara L. Giwa, Esq. (by ECF and email)
    Thomas Ambrosio, Esq. (by email) (counsel for the Office Assistant)




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